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                    EXHIBIT 25
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND



 STATE OF NEW YORK, et al.

          Plaintiffs,

                v.
                                                           Case No. ________________
 ROBERT F. KENNEDY, JR., in his official capacity as
 SECRETARY OF THE U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

          Defendants.



                           DECLARATION OF ELI ROSENBERG

        I, Eli S. Rosenberg, PhD, declare under the penalty of perjury pursuant to 28 U.S.C. §

 1746 that the foregoing is true and correct:

        1.      I am the Director of the Office of Science at the New York State Department of

 Health (NYSDOH). I am familiar with the information in the statements set forth below either

 through personal knowledge, in consultation with NYSDOH staff, or from documents that have

 been provided to and reviewed by me.

        2.      I submit this Declaration in support of the Plaintiffs’ Motion for a Preliminary

 Injunction.

 Professional Background

        3.      I am the Director of the Office of Science at NYSDOH and I serve as a lead and

 advisor to the NYSDOH Commissioner for public health data, research, epidemiology, and

 surveillance activities at NYSDOH. In this capacity, I have also served as a liaison to Health and

 Human Services (HHS) agencies, principally the US Centers for Disease Control and Prevention

 (CDC), regarding matters related to our public health data and systems. I joined NYSDOH in

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 2021, as the Deputy Director of Science for the Office of Public Health (OPH), and as director of

 the Office of Science, which was part of OPH at that time. From 2017 to 2021, I was an

 Associate Professor in the Department of Epidemiology and Biostatistics at the University at

 Albany School of Public Health, part of the State University of New York, in Albany, New York.

 From the beginning of the COVID-19 pandemic in March 2020, I was on assignment to

 NYSDOH, helping to support research and public health surveillance activities, and served as an

 advisor to the governor’s office regarding epidemiology and disease modeling for the pandemic.

 From 2013 to 2017, I was an Assistant Professor in the Department of Epidemiology at the

 Emory University Rollins School of Public Health in Atlanta, Georgia. As a professor in both

 universities, I taught graduate courses and conducted National Institutes of Health (NIH) and

 CDC-funded research studies focused on infectious disease epidemiology and data analytic

 methods. During this time, I also held guest appointments as a Senior Epidemiologist at CDC

 within two of its centers: the National Center for HIV/AIDS, Viral Hepatitis, STD, and TB

 Prevention and the National Center for Emerging and Zoonotic Infectious Disease. I have

 authored or co-authored over 200 publications in the peer-reviewed literature on the topics of

 epidemiology and public health surveillance, particularly for infectious diseases such as HIV,

 sexually transmitted infections, polio, and COVID-19. I received my PhD in Epidemiology from

 Emory University Rollins School of Public Health and my BS in Biometry and Statistics from

 Cornell University’s College of Agriculture and Life Sciences. Across these experiences I have

 built significant familiarity with the federal and state public health programs that are the subject

 of this case.

        4.       New York State Department of Health’s mission is to protect and promote health

 and well-being for all, building on a foundation of health equity. The Office of Science, which



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 reports to the Commissioner’s office of NYSDOH, provides epidemiologic, analytic and data

 capabilities to support data-driven decision making at NYSDOH and its programs. Office of

 Science focus areas are on leading data, research and informatics activities to support cross-

 cutting priority health topics, emerging threats, and population health. Relevant examples of this

 work include the production of surveillance data dashboards and reports, information technology

 development and support for the systems that collect and transmit data to HHS agencies, and the

 conduct of epidemiological programs such as the Pregnancy Risk Assessment Monitoring

 System and opioid and overdose surveillance. I, and the Office of Science, collaborate and

 coordinate with the other sections of NYSDOH whose work is described in this document. This

 includes the AIDS Institute, within the Office of Health Equity and Human Rights, and the

 Center for Environmental Health and the Center for Community Health, within the Office of

 Public Health.

        5.        I am providing this declaration to explain the impacts on New York State of the

 cuts to HHS, including cuts to CDC and the Substance Abuse and Mental Health Services

 Administration (SAMHSA).



 Reliance on HHS Data and Technical Expertise

        6.        Prior to April 1, 2025, NYSDOH relied on data from, technical support from, and

 relationships with HHS agencies in order to conduct its federally- and state-supported work that

 serves New York’s population, across numerous programs and topic areas. In some cases, data

 from HHS programs supplemented state-generated data in order to form a more complete picture

 of a condition that we are tracking and responding to. In other cases, our NYSDOH data are

 transmitted to HHS, along with those from other jurisdictions, and are not available for our use



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 until a finalized dataset is returned to us by the HHS program. Technical assistance provided by

 many HHS programs enables NYSDOH programs -- in forms such as documentation, guidance

 for surveys and data systems, and conference calls -- to operate more efficiently and in a

 coordinated fashion that enables comparability of data between New York and other

 jurisdictions. In some instances, project operations support provided by HHS agency programs is

 essential to the conduct of our NYSDOH programs, such that they cannot function absent the

 HHS program team. The relationships with HHS agencies for these data and technical support

 are established both formally via cooperative agreements and grant contracts, and less formally

 via working groups, initiatives, and individual relationships established by areas within HHS

 agencies with our NYSDOH programs.

        7.     New York State has relied on CDC for its assistance in ensuring that children are

 screened for hearing loss and receive appropriate interventions for hearing loss. The New York

 State Early Hearing Detection and Intervention program (NY EHDI) supports the US Surgeon

 General's Healthy People 2030 goals of increasing the proportion of newborns who are screened

 for hearing loss by no later than age one month, have audiologic evaluation by age three months,

 and are enrolled in appropriate intervention services no later than age six months. The CDC

 EHDI program provided substantial support to NY EHDI as part of a cooperative agreement,

 which included collaboration on enhancing and expanding outcomes surveillance activities,

 including the collection, management, analysis, and dissemination of EHDI data, collaboration to

 develop and implement strategies and evaluation plans and use evaluation findings, provision of

 technical assistance to define and operationalize performance measures and implement

 recipients’ performance measurement plans, and collaboration on and co-authoring scientific




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 reports, manuscripts and other derivative works arising from data collected and analyzed for the

 N Y EHDI Program.

        8.      Further, New York State Public Health Law Section 2500-g requires all Article 28

 health care facilities to report results to the New York Early Hearing Detection and Intervention

 Information System (NY EHDI-IS) when the provider performs newborn hearing screening and

 out-patient follow-up hearing screening or diagnostic audiological evaluation on infants less than

 six months of age. The CDC cooperative agreement is leveraged to support EHDI-IS.

        9.      New York State relied on CDC for data relating to the health and well-being of

 pregnant people and babies, including the Pregnancy Risk Assessment Monitoring System

 (PRAMS). PRAMS is a survey of state residents who have recently given birth to ask about

 behavior and experiences before, during, and immediately after pregnancy. These experiences

 may influence health outcomes such as infant development, illnesses, and maternal and infant

 mortality. Established in 1987, PRAMS is active in 50 U.S. jurisdictions and represents over

 80% of all live births in the United States. The PRAMS survey is extremely valuable in that it

 provides information about pregnancy and the first few months after birth that are not available

 from other data sources. These data are used to identify groups of parents and infants at a high

 risk for health problems, measure progress towards goals for improving the health of families

 and infants, plan, evaluate and assess perinatal health programs, evaluate policy, report essential

 federal performance measures related to maternal and child health, and to meet state statutory

 reporting requirements.

        10.     The CDC Notice of Award to NYSDOH requires data be collected via the

 PRAMS Integrated Data Collection System (PIDS), which is an entirely CDC hosted and

 supported electronic system. Sites such as NYSDOH are not able to extract raw data collected



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 from PIDS. Rather, the CDC team must extract and send the weighted data (weights are

 statistical adjustments that help to ensure that sampled data represent the underlying population)

 to NYSDOH. CDC statisticians maintain the expertise to properly and consistently weight the

 data, and this function is not performed by NYSDOH. Thus, sites are dependent upon the CDC

 PRAMS Data Team to extract, clean, process, weight, and provide states the weighted data sets.

 Additionally, CDC PRAMS creates and maintains the national dataset for researchers to request

 and use data from all states that meet the required response rate.

        11.     PRAMS data are for essential monitoring and reporting for a number of activities

 and grants at NYSDOH. This includes the State Maternal Health Innovation (SMHI) grant that

 was awarded to the Division of Family Health by the Human Resources and Services

 Administration (HRSA) to improve maternal health outcomes and address health disparities in

 response to the ongoing maternal mortality crisis in New York State. As a core data innovation

 component, the SMHI program includes a project which involves the linkage of PRAMS data to

 other sources of maternal health information, such as hospital discharge data and vital records.

 The Maternal and Child Health Services Title V Block Grant (Title V) is funded through HRSA

 and provides $38 million annually to support essential maternal and child health programs and

 services across New York State. PRAMS is a core data source necessary for the successful

 completion of ongoing Title V reporting, monitoring, and evaluation activities. Title V includes

 several national outcome/national performance measures derived exclusively from PRAMS data,

 and reporting on at least one of these measures is a direct requirement of the Federal funder. The

 New York State Department of Health has also contracted with the New York State Office of

 Cannabis Management (OCM) since 2021 to collect information about cannabis consumption

 and provider screening about cannabis consumption during the perinatal period via the PRAMS



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 survey. These data are used to monitor key public safety outcomes among pregnant and

 breastfeeding women post-legalization of adult use cannabis in New York State in 2021. OCM

 uses these data in their statutorily- required reporting.

        12.     New York State has relied on CDC for their assistance in tobacco prevention and

 control. The NYS Tobacco Control Program has both an internal Tobacco Surveillance,

 Evaluation and Research Team and a legislatively-mandated independent evaluation, conducted

 by a NYSDOH-funded contractor. Both the internal and the independent teams rely on standards

 set by CDC’s Office of Smoking and Health (OSH) to conduct effective evaluation and

 surveillance activities that monitor the effectiveness of the state’s investment in tobacco

 prevention and control and contribute to the scientific evidence base in tobacco prevention and

 control. The National Youth Tobacco Survey (YTS), supported by OSH, informs question

 development for the New York Youth Tobacco Survey, and serves as a basis for comparison to

 understand NY trends in context. The National YTS findings help inform the broader

 conversation about NY’s tobacco-related outcomes among decision makers, the media and public

 health practitioners; and helps to fill in the gaps in data for items that NY does not have in the

 NY YTS. OSH also supports the National Quitline Data Warehouse (NQDW). The independent

 evaluator has been able to conduct robust studies of the NY Quitline’s reach and effectiveness

 because of the access we have to other state and national data via the NQDW. CDC’s OSH

 disseminates several fact sheets and publications which serve as foundational evidence-based

 guides for tobacco control programs’ interventions and evaluations. These publications set the

 stage for talking about emerging products, shifting trends and key priorities. The STATE system,

 also supported by OSH, helps NY to facilitate data analysis and evaluation and supports

 reporting from the Independent Evaluator to the NYS Department of Health.



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        13.     New York State has relied on CDC for its assistance in preventing sexually

 transmitted infections (STI), viral hepatitis, and HIV/AIDS, across a number of activities

 outlined in the following sections. New York State has specifically relied on the STD Laboratory

 Reference Branch to develop novel sexually transmitted infection diagnostic tools to address the

 rising cases of reportable sexually transmitted infections. Further, New York State relied on the

 over 40 years of data and expertise from the STD Lab that supported national surveillance of

 antimicrobial resistant trends in Neisseria gonorrhoeae (N. gonorrhoeae; gonorrhea) and served

 as a repository of 50,000 Neisseria gonorrhoeae isolates. Gonorrhea is resistant to nearly all

 antibiotics making it an urgent public health threat; we are on the last line of effective antibiotics

 to treat the second most reported sexually transmitted infection in the country and in New York

 State. The State relied heavily on the STD Lab in 2023 when a multi-drug non-susceptible

 gonorrhea strain was reported in a resident in Massachusetts. Once alerted, the CDC STD Lab

 issued guidance on how to contact them for consultation and specimen processing.

 Subsequently, New York State issued a health advisory directing clinicians to notify CDC’s STD

 Lab immediately for consultation if there was a suspected gonorrhea cephalosporin treatment

 failure or any N. gonorrhoeae specimen with decreased cephalosporin susceptibility. Lastly, New

 York State relied on the CDC STD Lab to provide the factual data for the evidence based-

 Sexually Transmitted Infection Treatment Guidelines promulgated by the CDC and underpinned

 New York State’s own, state-focused, evidence-based STI and Sexual Health Treatment,

 Prevention, and Care Clinical Guidelines.

        14.     New York State has relied on the CDC Hepatitis Laboratory to support the

 investigation of hepatitis C virus (HCV) outbreaks. CDC scientists developed and maintained

 the Global Hepatitis Outbreak and Surveillance Technology (GHOST) system, which utilizes



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  advanced sequencing methodologies and analysis methods to characterize viral genotypes and

  transmission links among HCV cases, allowing for the identification of a common infection

  source. Identification of the source of infection is crucial for the interruption and prevention of

  outbreaks. In 2024, New York State used GHOST to establish genetic linkages between 20 new

  HCV cases from multiple healthcare facilities, likely caused by exposure to a single HCV-

  infected healthcare provider at a surgery center. The GHOST program and technical expertise of

  CDC scientists to help interpret the results were critical to that outbreak investigation and the

  success of measures taken in response to the findings.

         15.     The CDC provides coordinated national guidance for all aspects of HIV

  Surveillance and prevention. The agency develops and maintains standardized data collection

  tools and systems for collecting and storing data, including demographic, behavioral, diagnostic,

  and other HIV-related test information. In collaboration with funded programs, the CDC also

  provides training and technical support, produces technical guidance documents and benchmarks

  to measure progress towards timely, high quality, and nationally comparative data. These efforts

  help establish standards for data collection and ensure the security and confidentiality of HIV

  Surveillance information. The CDC provides expertise in specialty settings especially related to

  laboratory reporting and case ascertainment from other federal agencies, i.e., the Veterans

  Administration. Through training and technical guidance on quality assurance for laboratory

  reporting, the agency sets the standard on HIV-testing, reporting, and results interpretation,

  especially related to challenges cases. Without the CDC’s expert input, New York State’s

  progress toward ending the HIV epidemic would be significantly hindered.

         16.     A specific program of note is the CDC’s HIV Medical Monitoring Project

  (MMP), which is a program that generates nationally representative estimates related to



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  behaviors, clinical outcomes, quality of care for people living with HIV and is conducted in 23

  project areas around the United States, including in New York State. When I was a Senior

  Epidemiologist at CDC, I was embedded in the Behavioral and Clinical Surveillance Branch,

  within the National Center for HIV, Viral Hepatitis, STD, and Tuberculosis Prevention’s Division

  of HIV/AIDS Prevention, that conducted MMP and am intimately familiar with its operations.

  Similar to PRAMS described above, the CDC team supporting MMP provides essential

  technical, operational, and statistical functions for the project, such that the program cannot fully

  function in funded project areas absent the CDC team. In New York State, the Medical

  Monitoring Project has been ongoing since 2005 and is one of few sources of representative data

  on people living with HIV. The State relies heavily on the Medical Monitoring Project to monitor

  trends, identify unmet healthcare needs, and assess access to ancillary care, and supportive

  services. The Medical Monitoring Project is also critical in locating individuals with HIV who

  are sampled but appear to be out of care, facilitating their re-linkage to HIV medical providers,

  and enumerating barriers to care. The Medical Monitoring Project is also the only data source

  within the State that measures HIV-related stigma among people living with the virus. New York

  State relies on MMP to track this Ending the Epidemic metric.

         17.     New York State has relied on CDC National Center for Environmental Health for

  its technical assistance with childhood lead poisoning prevention. Childhood lead poisoning

  remains a significant public health problem in New York State. Due to substantial state

  investment in secondary and primary prevention programs, cases have steadily declined since

  1998, but New York State still has the greatest number of childhood lead poisoning cases in the

  nation. From 2016-2019, 16.5 per 1000 children under age 6 tested statewide had blood lead

  levels at or above 5 micrograms per deciliter. Thousands more are at risk due to other risk factors



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  in the State (e.g., poverty, old and deteriorating housing stock). New York State relies on CDC’s

  nationwide surveillance through their Childhood Blood Lead Surveillance System to identify

  new sources of lead and inform targeted interventions at the State level. When there are

  programmatic emergent issues, CDC serves as a liaison with other states to develop nationwide

  guidance and strategies. In 2021, New York State medical providers experienced a shortage of a

  chelation medication; in response, CDC coordinated with other states to develop solutions and

  alternative approaches to medical treatment. Additionally, CDC’s national response is critical to

  product safety awareness, particularly regarding new sources of lead-bearing products in the

  marketplace. New York State has relied for decades on CDC and other federal partners for their

  technical expertise to inform regulations and policy in the primary and secondary lead poisoning

  prevention efforts in children.

         18.     For decades, CDC’s National Institute for Occupational Safety and Health

  (NIOSH) has served as a cornerstone for worker health and safety. New York State has been part

  of NIOSH's Adult Blood Lead Epidemiology and Surveillance (ABLES) program since 1994.

  We later expanded our relationship with NIOSH in the early 2000s with a cooperative agreement

  to conduct additional surveillance of a variety of other occupational health conditions including

  work-related respiratory conditions and workplace fatalities investigations. The ABLES program

  monitors work-related exposure in adults in the U.S. The data has been vital in monitoring

  workplace lead exposure trends and is used to guide interventions and prevent work-related lead

  exposures.

         19.     New York State has relied on CDC for their assistance addressing excessive

  alcohol use and its harms, including providing technical assistance and guidance for NY’s

  Alcohol Surveillance and Epidemiology Program. The CDC Alcohol Program provided guidance



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  and technical assistance to states to build capacity to conduct alcohol surveillance and

  epidemiology, disseminate consistent messaging about the harms of alcohol use and promote

  information about evidence-based solutions. Specifically, they provided assistance in the form

  reviewing all NY-generated alcohol reports for accuracy/alignment with the evidence base,

  sharable graphics for messaging, and they developed, hosted and maintained key data systems

  like the Alcohol-Related Disease Impact (ARDI) application, which is the primary source for

  states about alcohol-attributable disease and death.

         20.     New York State also relies on SAMHSA, which funds the National Survey for

  Drug Use and Health, an annual nationwide survey involving interviews with approximately

  70,000 randomly selected individuals, aged 12 years and older. This survey provides estimates

  on the use of tobacco products, alcohol, illicit drugs, and mental health in the United States (US).

  These data provide state and national estimates to track trends in the use of substances, assess the

  consequences of substance use and abuse, and identify those groups at high risk for Opioid Use

  Disorder. In New York State, the survey provides key indicators that allow New York State

  Department of Health to compare the national prevalence to New York State prevalence on

  specific substance use; allowing to observe trends in substance use and mental health, among

  other topics. Since 2018, when available data, from the survey has been included in the NYS

  Opioid Annual Report, a report that is legislatively mandated. These data are also included in the

  New York State Opioid Data Dashboard and the New York State key tracking indicators, which

  are both used for monitoring the opioid crisis in New York. NSDUH indicators are further

  prioritized and incorporated in the New York State Health Improvement Plan, known as the

  Prevention Agenda, to assist in monitoring progress of opioid and substance use interventions

  and programs throughout New York State.



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         21.     New York State has relied on CDC for their assistance supporting our program

  related to STD/HIV Disease Intervention Training Centers (DITC). Health Research

  Incorporated as the grantee has been supporting these state-provided services for more than 15

  years. The intent of this program was to improve the quality of disease intervention services

  provided by states in HHS Region II by providing training and technical assistance to regional

  jurisdictions. Disease Intervention Specialists function as the “on the ground” investigators of

  sexually transmitted infections in states and cities across the country. They provide an essential

  intervention limiting disease spread in New York State and throughout HHS Region II.

  Changes in HHS Data and Technical Assistance Since April 1, 2025

         22.     Since April 1, 2025, changes at HHS have and will continue to impact our data

  and technical assistance received from HHS agencies, which in turn impedes numerous functions

  at NYSDOH. The discontinuation of HHS data and surveillance programs, because the personnel

  are no longer employed, will mean some national data will be unavailable to supplement our

  NYSDOH data, limiting our ability to track and respond to conditions. For other surveillance

  programs, we are unable to retrieve our own data submitted to HHS. The loss of whole teams at

  HHS agencies removed essential guidance and coordination needed to conduct our work and, in

  some cases, NYSDOH project operations have ceased because the HHS team conducted key

  steps in our program’s operations. For some activities we have received notice that active awards

  are being discontinued, or recently submitted funding applications cannot be reviewed, because

  the HHS teams overseeing these awards and application review processes have been terminated.

         23.     Since April 1, 2025, New York State has experienced harm relating to CDC’s role

  in helping to ensure that children are screened for hearing loss and receive appropriate

  interventions for hearing loss. We learned that, on April 1, the entire CDC branch for the Early



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  Hearing Detection and Intervention (EHDI) program was eliminated. Since that date, all

  technical assistance and the supports described above have been completely terminated, and New

  York State EHDI staff have been left without guidance or direction on how to proceed with

  activities described in the cooperative agreement, in which the CDC team substantially

  participated. The elimination of the CDC also has created uncertainty regarding our competitive

  Grant Application for July 1, 2025 - June 30, 2030 funding, which was recently submitted.

  Specifically, an April 24, 2025 e-mail sent to Health Research, Inc. from CDC indicated that

  there was no staff to review the recently submitted competitive application (CDC-DD-25-0157)

  for the above funding cycle, due to the federal RIF impact on the program. This puts a significant

  portion of the EHDI program’s overall funding at risk, with no current alternative state funding

  available to absorb costs and staffing. A copy of this email is annexed hereto as Exhibit A.

         24.     Since April 1, 2025, New York State has experienced harm relating to CDC data

  that describe the health and well-being of pregnant people and babies, including the Pregnancy

  Risk Assessment Monitoring System (PRAMS). Starting January 31, 2025, the PIDS electronic

  data system has effectively been shut down. As PIDS is essential for data collection and

  operations, this pause abruptly ended the 2024 birth year data collection and resulted in over

  20% reduction in the New York State 2024 sample. This reduction has serious implications for

  analysis, statistical power, and data publication and research products. On April 30, the

  Department received additional communication informing us that CDC could “no longer provide

  the scientific, technical, and information technology assistance resources as described in the

  Notice of Funding Opportunity”. A copy of this email is annexed hereto as Exhibit B. This has

  serious implications for the future of data collection and places the timeline to receive prior year

  datasets for data collected by NYSDOH and transmitted to CDC. As described in section 9



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  above, the CDC PRAMS team is responsible for providing scientific and technical assistance

  including producing the weighted dataset. Without staff, or this technical assistance, it is unclear

  if, how, and when states will gain access to data that was already collected, such as the weighted

  2024 dataset. Furthermore, continued outage of PIDS has a direct impact on operations. A

  normal schedule for beginning data collection of January 2025 births is April 2025. Any delay in

  2025 data collection could result in a reduction of 2025 birth year sample. As sampled cases are

  no longer valid when the infant turns 9 months old, any delay to the start of data collection will

  limit the amount of time for collection, result in additional work to collect multiple sample

  batches at one time and put more strain on staff and increasing operations costs. The longer the

  delay, the greater and more costly the impact. This will additionally affect the ability to meet the

  requirements of the SMHI project, future Title V reporting, and the OCM contract, which are

  described in Section 9 above. Continued outage of the data collection platform and loss of CDC

  technical assistance to clean, process, and weight the data will have further impact on NY’s

  continued ability to effectively identify high risk populations, measure progress towards goals

  for improving the health of families and infants, plan, evaluate and assess perinatal health

  programs, evaluate policy, report essential federal performance measures related to maternal and

  child health, and to meet certain state reporting requirements. The loss of PRAMS data would

  jeopardize the New York State Title V program’s ability to meet reporting requirements and

  would also severely compromise the Department’s ability to track progress on key maternal and

  child health goals and objectives outlined in the Title V State Action Plan, the New York State

  Title V Dashboard, the New York State Maternal and Child Health Dashboard, and the New York

  State Prevention Agenda. PRAMS data are crucial to understanding key factors that contribute to

  maternal and infant morbidity and mortality and our ability to monitor, intervene, and ultimately



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  protect mothers and infants and without PRAMS data in the future, efforts to reduce infant and

  maternal morbidity and mortality will be affected.

         25.     Since April 1, 2025, New York State has experienced harm relating to CDC’s role

  in tobacco prevention and control. Staff at CDC established and maintain specifications for data

  systems needed to track measures of tobacco use for all 50 states, including New

  York. Furthermore, they maintain the case definitions of measures essential to monitoring

  progress in tobacco control, cigarette smoking, use of other tobacco products, vaping and quit

  attempts. Public health surveillance and epidemiology rely on stable data systems and standard

  case definitions. By firing the experts responsible for these central data systems and technical

  measure specifications, HHS did irreparable harm to all 50 states and US territories involved in

  tobacco control, including losing access to the technical advisors at CDC who provide guidance

  and feedback regarding state program evaluation and performance measurement plans. Without

  key staff at CDC’s OSH, updates to the National Youth Tobacco Survey, the State Tobacco

  Activities Tracking and Evaluation (STATE) System, and resources for New York State’s tobacco

  quit line are unlikely to occur, significantly hampering NY’s efforts to effectively evaluate their

  tobacco prevention and control programming.

         26.     Since April 1, 2025, New York State has experienced harm relating to CDC’s role

  in preventing HIV/AIDS, viral hepatitis, STIs, and tuberculosis. The elimination of the STD

  Laboratory Reference and Research Branch will imminently result in harm to New York State as

  there is no reference laboratory to provide a national picture of antibiotic-resistant gonorrhea to

  inform New York State’s clinical response, serve as a consultant on suspected treatment failures

  and/or reduced susceptibility cases, or to provide technical assistance in such cases involving

  pregnant persons.



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         27.     The closure of the CDC Hepatitis Laboratory has harmed New York State because

  we no longer have access to the GHOST analysis computer program nor the CDC scientists who

  provided technical assistance to interpret GHOST results. Without GHOST, outbreaks of

  hepatitis C virus will take longer to investigate, linkages between cases and clusters may remain

  undetected, and prevention interventions will be delayed, resulting in continued transmission of

  HCV and potentially increased morbidity and mortality from this lethal infection.

         28.      The CDC has provided essential national guidance, data systems, and technical

  support for HIV surveillance and prevention, ensuring consistent standards, data quality, and

  confidentiality across states. Its expertise, especially in laboratory reporting and interagency case

  ascertainment, is critical to New York’s HIV response. Elimination of the Division of HIV

  Prevention’s Behavioral and Clinical Surveillance Branch that housed the Medical Monitoring

  Project and the Quantitative Sciences Branch that produced HIV incidence and HIV status

  awareness estimates weakened CDC’s involvement and has directly impaired the state’s ability to

  effectively monitor, prevent, and respond to HIV.

         29.     We understand that the Behavioral and Clinical Surveillance Branch was

  terminated, including the team conducting the HIV Medical Monitoring Project (MMP). The

  current data collection cycle of the Medical Monitoring Project ends May 15, 2025. Due to these

  circumstances, the following harms have been realized:

         30.     The State has not received weighted data from the CDC for the two most recent

  years of data collection (i.e., the 2023-2024 and 2024-2025 data collection cycles). Without the

  weights, the samples are not truly representative of individuals living with HIV in New York

  State.Training and technical support for data collection activities (interviewers, data collectors)

  have gone unmet.



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         31.     Technical assistance needs related to data quality and participant recruitment have

  gone unmet.

         32.     Training and technical support for data management and data analytics have

  ceased.

         33.     Reconciling differences and gaps in recruitment data between funded jurisdiction

  ceased; this cross jurisdictional activity was facilitated by the CDC.

         34.     The ability to detect changing and emerging trends among people living with HIV

  will be compromised, hindering timely and effect public health responses.

         35.     CDC’s obligation to New York State as part of the current CDC HIV prevention

  and surveillance cooperative agreement notes substantial involvement to provide technical

  assistance to support HIV surveillance and prevention. (The first year one of the five year cycle

  is slated to end May 31 st 2025 and pending a Notice of Award for year two, starting June 2025).

  This technical assistance is critical to calculate HIV incidence in New York State and percent of

  people with HIV aware of their status. These are two critical metrics included in New York

  State’s efforts to end the HIV epidemic. On April 29, 2025, New York State was notified that

  “the publication of CDC’s HIV Surveillance Supplemental Report: Estimated HIV Incidence and

  Prevalence in the United States, 2019–2023 has been delayed and that the HIV Surveillance

  Supplemental Report: Monitoring Selected National HIV Prevention and Care Objectives by

  Using HIV Surveillance Data—United States and 6 Territories and Freely Associated States,

  2023 (this year’s Monitoring Report) does not include data on PrEP coverage. In 2024, CDC

  paused PrEP coverage reporting for one year to update overall PrEP coverage estimates using

  newly available data sets and determine the best way to present PrEP coverage. However, CDC

  is unable to resume PrEP coverage reporting at this time, due to a reduction in force affecting the



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  Division of HIV Prevention (DHP). As part of this staffing reduction, the DHP branches that

  produced HIV incidence estimates and provided the statistical expertise needed to assess PrEP

  coverage were eliminated. CDC is currently evaluating plans and capacity to resume this work.

         36.     Since April 1, 2025, New York State has experienced harm relating to CDC’s role

  in monitoring for and responding to lead poisoning, especially in children. Since April 2025,

  CDC has been unavailable and has not participated in our long-standing monthly technical

  assistance calls to review grant deliverables and discuss childhood lead poisoning prevention

  matters. At this time, CDC is not providing further technical assistance to New York State. New

  York State is currently pursuing an investigation into a recent discovery of lead contamination in

  baby food and CDC is unavailable to consult on the federal recall of this food or to provide

  information from other states as to their experience and response. New York State does not have

  a technical lead on the national level to consult during emerging issues that continue to rise and

  require prompt response to mitigate lead poisoning in children and the lifelong impact that such

  poisoning presents.

         37.     The recent federal restructuring has led to the dismantling of the CDC's National

  Institute for Occupational Safety and Health (NIOSH). It has been reported that nearly 900 staff

  positions and a wide range of critical programs have been eliminated. All but a few employees,

  primarily a few commissioned officers, will remain after June 2, 2025. The worker health data

  submitted and collected on a national level is at risk of being deleted and gone forever. Without

  NIOSH staff support, data, or funding to support our follow up with lead poisoned adults will be

  much more limited and our ability to continue the pregnant women collaborative program with

  the NYS Childhood Lead Prevention Program and county health departments, where we work to




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  ensure timely identification of lead poisoned pregnant women and follow-up of their at-risk

  newborn babies, will be extremely limited and most likely stopped altogether.

            38.   Since April 1, 2025, New York State has experienced

  harm relating to SAMHSA data about drug use. According to media reports and a public post

  from the National Survey for Drug Use and Health Director on LinkedIn from early April, the

  entire team overseeing National Survey for Drug User Health at the Office of Population Surveys

  at SAMHSA was laid off. As noted in Section 16 above, this survey provides estimates on the

  use of tobacco products, alcohol, illicit drugs, and mental health in the United States (US). The

  national and state estimates are used in key data products (also described in Section 16) that help

  New York State monitor trends and the loss of this data source would make it challenging for

  New York State to track progress, identify high-risk populations, and compare with national

  trends.

            39.   Since April 1, 2025, New York State has experienced harm relating to CDC data

  about alcohol use. According to news reports, the entire team overseeing the Alcohol Program at

  CDC’s Division of Population Health was laid off. CDC’s Alcohol Program measures the impact

  of excessive alcohol use and related harms in the United States. The program also develops

  resources to help people drink less alcohol and to help communities and states create healthier

  environments that support individuals in drinking less alcohol. The Alcohol Program funds states

  to build and maintain capacity to conduct epidemiologic and surveillance activities related to

  alcohol use. The CDC-funded contract supporting a TA center, which helps states to evaluate

  their efforts under their cooperative agreements with CDC, has been suspended. Staff at CDC

  who provided technical review of NY-developed alcohol reports are no longer available to

  provide review, ensure alignment with the evidence base and provide feedback for improvement.



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  The CDC Alcohol Program provides support for the Alcohol Related Disease Impact (ARDI)

  application. ARDI is an online application that provides national and state estimates of alcohol-

  related health impacts, including deaths and years of potential life lost (YPLL). These estimates

  are calculated for 58 acute and chronic causes using alcohol-attributable fractions and are

  reported by age and sex. Without this application being updated, NY will lose its primary method

  for quantifying the health impact associated with alcohol use, which is a key risk factor for

  cancer and other acute and chronic health outcomes. Further, NY has been funded by CDC’s

  Alcohol Program since 2021; this funding is the only support for NY’s Alcohol Surveillance and

  Epidemiology Program. The future of that funding is uncertain.

         40.    On April 10, 2025, New York State has experienced harm related to the loss of

  program services following the abrupt termination of CDC-RFA-PS20-2003: STD/HIV Disease

  Intervention Training Centers (DITC). The reason given for the termination of funding was that

  CDC was “no longer able to provide programmatic technical assistance or project monitoring as

  required by law.” Without this training center, there is increased risk of disease spread in New

  York State and throughout HHS Region II. A copy of the April 10, 2025 email stating the reason

  for the termination of funding is annexed hereto as Exhibit C.

  Conclusion

         41.    As set forth in detail above, the significant cuts to HHS, the CDC, and SAMHSA

  have adversely impacted the work of NYSDOH and are preventing NYSDOH from carrying out

  its mission to protect and promote health and wellbeing of New Yorkers.



  Date: 5/08/2025                                     ___________________________________
                                                                  ELI ROSENBERG




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